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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )              ORDER
                                              )
       vs.                                    )
                                              )
Patrick Lloyd Hofstad,                        )
                                              )              Case No. 1:13-cr-018
               Defendant.                     )


       On November 18, 2014, defendant made his initial appearance on a petition for revocation

of his pretrial release conditions. The court advised defendant of his rights and ordered that he be

detained pending a hearing on November 21, 2014. The court subsequently rescheduled the hearing

for November 24, 2014.

       On November 24, 2014, the court convened a detention hearing. At the outset of the hearing,

defense counsel moved to withdraw. Based upon the court subsequent discussion with the parties,

the court granted defense counsel’s motion and continued the detention hearing pending the

appointment of new defense counsel.

       The court appointed new defense counsel and on December 8, 2014, reconvened the hearing.

Based upon the its subsequent exchange with the parties, court continued the hearing until December

10, 2014, to permit the parties time to obtain additional information and coordinate with witnesses.

       On December 9, 2014, the court held a status conference with counsel to discuss the

upcoming detention hearing. Pursuant to its discussions with the parties, the court shall postpone

the detention hearing due to defendant’s need to gather additional information. The court shall

reconvene the detention hearing at a date and time to be determined.
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IT IS SO ORDERED.

Dated this 9th day of December, 2014.
                                        /s/ Charles S. Miller, Jr.
                                        Charles S. Miller, Jr., Magistrate Judge
                                        United States District Court
